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            In the United States Court of Federal Claims
                                            No. 21-2004
                                      Filed: October 18, 2021

                                                )
THE EXCELLENT THE EXCELLENT                     )
RAJ K. PATEL,                                   )
                                                )
                       Plaintiff,               )
                                                )
v.                                              )
                                                )
THE UNITED STATES,                              )
                                                )
                       Defendant.               )


                                    ORDER TO SHOW CAUSE

        On October 7, 2021, plaintiff, proceeding pro se, filed a complaint with this Court,
alleging, inter alia, that government actors breached contractual obligations and abridged his
“privileges and/or immunities” by committing “battery/assault/torture/genocide/civil rights
violation/conspiracy through a psycho-bio-tech stress weapon.” See generally Complaint, ECF
No. 1. After careful review, the Court does not believe that it has jurisdiction over plaintiff’s
claims.

         This Court’s authority to hear cases is primarily set forth by the Tucker Act, which grants
the Court of Federal Claims subject-matter jurisdiction over claims brought against the United
States that are grounded on a money-mandating source of law and do not sound in tort. 28
U.S.C. § 1491(a)(1). Rule 12(h)(3) of the Rules of the Court of Federal Claims (“RCFC”) states
that “[i]f the court determines at any time that it lacks subject-matter jurisdiction, the court must
dismiss the action.”

       Therefore, plaintiff is ORDERED TO SHOW CAUSE as to why this case should not be
dismissed pursuant to RCFC 12(h)(3). In responding to this order, plaintiff must identify which
source or sources of law he is invoking and explain why this Court has jurisdiction over this
case. Plaintiff’s response to this order is due on or before November 15, 2021. Additionally,
defendant’s answer is hereby STAYED pending the Court’s review of plaintiff’s forthcoming
response.

       IT IS SO ORDERED.
                                                      s/   Loren A. Smith
                                                      Loren A. Smith,
                                                      Senior Judge
